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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   A FAMILY CHOICE CDS, LLC,

        Plaintiff,

   v.                                                       No. 4:22-cv-0112-P

   MBP BARCELONA, LLC,

        Defendant.

                                      ORDER
      Before the Court is Plaintiff’s Amended Motion for Temporary
   Restraining Order and Preliminary Injunction (“Motion”), filed July 11,
   2022. ECF No. 33. Having reviewed the Motion, relevant docket entries,
   applicable law, and arguments of counsel, the Court DENIES the
   Motion to the extent that it seeks a temporary restraining order.

        To the extent that the Motion seeks a preliminary injunction, the
   Court concludes that supplemental briefing 1 is necessary. Accordingly,
   the Court ORDERS Plaintiff to file an amended brief in support its
   motion for a preliminary injunction by August 1, 2022. The Court
   further ORDERS Defendant to file a response brief by August 8, 2022.
   The Court further ORDERS Plaintiff to file a reply brief by August 15,
   2022.

        SO ORDERED on this 18th day of July, 2022.




                     Mark T. Pittman
                     UNITED STATES DISTRICT JUDGE




        1In
         addition to the merits of the underlying claims, the Parties’ should address
   whether Plaintiff has established standing.
